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                     UNITED STATES DISTRICT COURT
                                         District of Minnesota



Michelle Erko, et al.,                               JUDGMENT IN A CIVIL CASE
                                   Plaintiff(s),
v.                                                        Case Number: 14-cv-01036-RHK-BRT
USA Pools of Georgia, Inc., et al.,

                                   Defendant(s).




☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been
  tried and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

     the Motion (Doc. No. 126) is GRANTED. Plaintiffs shall recover of Defendants USA Pools

     of Illinois, Inc., USA Pools of Delmarva, Inc., Doe Corporation(s) known as USA Pools

     Management, and Troy Legg (now known as Troy Avery), jointly and severally, the sum of

     $225,454.97 as follows:

     1. $45,534.05 in compensatory damages, comprising the following:

         A. For Plaintiff Michelle (Erko) Emslander, the sum of $2,806.42;

         B. For Plaintiff Athena Anthony, the sum of $1,053.80;

         C. For Plaintiff Audrey Mundstock, the sum of $3,625.10;

         D. For Plaintiff George Kibbe, the sum of $27,045.87;1

         E. For Plaintiff Travis Edrington, the sum of $8,879.41;

         F. For Plaintiff Abigail Whritenour, the sum of $753.35; and

         G. For Plaintiff Sarah Eckhert, the sum of $1,370.10;
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2.   $172,590 for attorneys’ fees, which – having reviewed the time sheets and

submissions of counsel, and based upon a review of the record – the Court finds

reasonable and appropriate under the circumstances of this case; and

3.   $7,330.92 in costs.



Date: 8/26/2016                                        RICHARD D. SLETTEN, CLERK

                                                               s/L. Sampson
                                                    (By) L. Sampson, Deputy Clerk
